    Case 18-15691-CMG Doc 62 Filed 05/23/18 Entered 05/23/18 13:19:02                            Desc Main
                             Document
UNITED STATES BANKRUPTCY COURT            Page 1 of 2
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)




                                                                             Order Filed on May 23, 2018
                                                                                       by Clerk
                                                                               U.S. Bankruptcy Court
                                                                               District of New Jersey




In Re:                                                   Case No.:          18-15691-CMG
                                                                         ____________________
 American Center for Civil Justice, Inc.                                      6/12/18
                                                         Hearing Date: ____________________

                                                         Judge:          _____________________
                                                                                Gravelle

                                                         Chapter:                  11
                                                                         _____________________




                Recommended Local Form:            ✔
                                                   ”    Followed         ”    Modified




                                 ORDER DENYING MOTION OR
                          APPLICATION FOR THE ENTRY OF AN ORDER
                          _____________________________________________
                                         TO SHORTEN TIME


         The relief set forth on the following page is hereby ORDERED.




  DATED: May 23, 2018
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                                                           May 22
       A motion or application having been filed on ____________________,    18 by
                                                                          20 ___
    Joshua Ambush
 ___________________________________ for entry of an order as set forth above, all
interested parties having been duly served, the Court having considered all of the papers
submitted, along with any arguments of counsel, and for good cause shown; it is


       ORDERED that the aforesaid motion or application is denied.


       The successful party shall serve this order on the debtor, any trustee and all parties who
entered an appearance on this matter.




                                                                                         Rev. 7/1/04; jml



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